AO 440 (Rev. 06/12) Siiininons in a Civil Action


                                         United States District Court
                                                                                                                RECEIVED
                                                                          for the

                                                            Eastern District ofTenncssce

                                                                                                                       JUL 1 5 2024
                       MIKAYLA EVANS                                            )
                                                                                )                                Clerk, U. S. District Court
                                                                                )                              Eastern Disi.ic*, of Tennessee
                                                                                )                                      At KriOAviiie

                              PUiiiiliJffs)                                     )
                                                                                )
                                   V.                                                Civil Action No. 2:24-cv-106
                                                                                )
                    JOHNSON CITY, etal.
                                                                                )
                                                                                )
                                                                                )
                                                                                )
                             Dcfeiiclanl(s)                                     )

                                                        SUMMONS IN A CIVIL ACTION


To: (Defeudaul's name and address)
                                              Toma Sparks
                                              601 E. Main Street
                                          Johnson City, TN 37601




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
arc the United States or a United Stales agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must seiwe on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are;
                                              Robert Dziewulski
                                          Ashleigh Beer-Vineyard
                                          DZ Law, PLLC
                                          800 S. Gay Street. Suite 2131
                                          Knoxville, TN 37929



        If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



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Date:      06/21/2024



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     Case 2:24-cv-00106-JRG-CRW                             Document 5-6            Filed 06/21/24   Page 1 of 2    PagelD #: 58
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 Civil Action No. 2;24-cv-106


                                                              PROOF OF SERVICE

                       (This section should not be ifled with the court unless required by Fed. R. Civ. P. 4 (1))


           T\\\S               fox (nume ofindividual ami tide, if tmy)           ^                              ^
was received by me on (date)              ^      -v

               I personally served the summons on the individual at (place)                  ■tT' L

                                                                                      on (date)            'J ~           *7^       ; or


           □ 1 left the summons at the individual’s residence or usual place of abode with (name)

                                                                     , a person of suitable age and discretion who resides there,
           on (date)                                  , and mailed a copy to the individual’s last known address; or

           □ I served (he summons on (name of individual)                                                                                    , who is

            designated by law to accept service of process on behalf of (name of organization)
                                                                                      on (date)                                     ; or


           □ I returned the summons unexecuted because                                                                                            ; or



           G Other (specify):




           My fees are S                              for travel and $                    for services, for a total of $                   0.00




           I declare under penalty of perjury that this information is true.


                                                                                                            {
 Date:
                                                                                                   Server's signature           /

                                                                                                  Id             ^                  rS
                                                                                  y           Printed name and title            /




                                                                                                       Server's address



 Additional information regarding attempted service, etc:




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